Case 2:04-CV-02444-SHI\/|-tmp Document 14 Filed 06/30/05 Page 1 of 2 Page_|D 21

 

THE UNITED STATES DISTRICT COURT F"~ED BY m tm
FOR THE WESTERN DISTRICT 0F TENNESSEE '
WESTERN DIVISION 95 JUN 30 PH 2= 14 g
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CLEHK UQ PF;YMD
RODNEY GOOL and ) Wf,[j Oj.,; t|,~_.%-»\} ;i-M,`C_,GUHT
MARLON SMITH ) ’ "-‘ `“‘fl““HtS
)
PLAINTIFFS, )
)
v. ) No. 04.2444.Ma/P
)
JIM KERAS NISSAN, INC., and )
_]IM KERAS, Owner (Individually), )
)
DEFENDANTS. )

 

()RDER EXTENDING DA'I`E FOR DEFENDANTS TO FILE
DISPOSITIVE MOTIONS

 

I'I` APPEARING to the Court that the Defendants have shown good cause to
extend the date for filing Dispositive Motions and that the Plaintiffs do not oppose an
extension

IT IS ORDERED that the Defendants shall have to and including July l l, 2005,

to file Dispositive l\/lotions.

/'"
Datedthis§@ Of ~WW€-» 2005.

M
UNITED STATES BTSLF'RTCT'€@HR-T JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02444 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

